
Mr. Justice Bradley
delivered the opinion of the court:
According to the facts found in this case we think no error was committed by the court below. It appeared from a docu-*97meut purporting to be signed by the claimant that he had sold the cotton in question ou the 12th of December, 1863, and therefore that he was not entitled to claim the proceeds thereof from the United States. The only question of importance is, whether the signature to this document was properly proved. The court compared it with his signature to another paper in evidence for other purposes in the cause, respecting which there seems to have been no question, and from that comparison adjudged and found that the signature was his. Had the court a right to do this ¶ The Court of Claims, like a court of equity or admiralty, or an ecclesiastical court, determines the facts as well as the law. And the question is, whether they may determine the genuineness of a signature by comparing it with other handwriting of the party. By the general rule of the common law this cannot be done, either by the court or a jury. And that is the general rule of this country, although the courts of a few States have allowed it, and the legislatures of others as well as of England have authorized it. In the ecclesiastical courts, which derived their forms of proceeding from the civil law, a different rule prevails. The questionis, by whatlawis the Court of Claims to be governed in this respect ? - May it adopt its own rules of evidence, or is it to be governed by some system of law ? In our opinion it must be governed by law; aiid we know of no system of law by which it should be governed other than the common law. That is the system from which our j udicial ideas and legal definitions are derived. The language of the Consti-tutiou and of many acts of Congress could not be understood without reference to the common law. The great majority of contracts and transactions which come before the Court of Claims for adjudication are permeated and are to be adjudged by the principles of the common law. Cases involving the principles of the civil law are the exceptions. We think that where Congress has not provided, and no special reason demands, a different rule, the rules of evidence as found in the common law ought to govern the action of the Court of Claims. If a more liberal rule is desirable, it is for Congress to declare it by a proper enactment.
But the general rule of the common law disallowing a comparison of handwriting as proof of signature has exceptions equally as well settled as the rule itself. One of these exceptions is that if a paper admitted to be in the handwriting of the *98party, or to have been subscribed by him, is in evidence for some other purpose in the cause, the signature or paper in question may be compared with it by the jury. It is not distinctly stated in this case that the handwriting used as a basis of comparison was admitted to be in the claimant’s hand, but it was conceded by counsel that it was in fact the power of attorney given by him to his attorney ill fact, by virtue of which he appeared and presented the claim to the court. This certainly amounted to a declaration on his part that it was in his hand, and to pretend the contrary would operate as a fraud on the court. We think it brings the case within the rule, and that the Court of Claims had the right to make the comparison it did.
The decree is affirmed.
